        Case 20-04502-MM11                         Filed 09/02/20          Entered 09/02/20 14:22:17                   Doc 1       Pg. 1 of 21

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern
 ____________________              California
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                       Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Q Media Services, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 f/k/a Qello, LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              9909 Mira Mesa Blvd.
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              Suite 230
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                              San Diego                       CA         92131
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              San Diego
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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Debtor                 Q Media Services, LLC
                     ___________________________________________________                       Case number (if known)_____________________________________
              Name



                                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                              Partnership (excluding LLP)
                                              Other. Specify: __________________________________________________________________

                                           A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                           B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5 ___
                                              ___ 1 ___
                                                     9 ___
                                                        1
 8.   Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?                          Chapter 7
                                              Chapter 9
                                              Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                              Chapter 12




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor           Q Media Services, LLC
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        #
                                          n No
       filed by or against the debtor
       within the last 8 years?           # Yes.     District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases           # No
       pending or being filed by a
       business partner or an             #
                                          n Yes.             See Annex 1
                                                     Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                      District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                       Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          # Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           n


                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                          # A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        # No
                                           n

       possession of any real             # Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                    #   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                    #   It needs to be physically secured or protected from the weather.

                                                    #   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                    #   Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                    Is the property insured?

                                                    #   No
                                                    #   Yes. Insurance agency ____________________________________________________________________

                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




               Statistical and administrative information




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Debtor          Q Media Services, LLC
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                      Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                            1-49                                1,000-5,000                               25,001-50,000
 14.   Estimated number of                  50-99                               5,001-10,000                              50,001-100,000
       creditors
                                            100-199                             10,001-25,000                             More than 100,000
                                            200-999

                                            $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
 15.   Estimated assets                     $50,001-$100,000                    $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                 More than $50 billion


                                            $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
 16.   Estimated liabilities                $50,001-$100,000                    $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                 More than $50 billion



              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on _________________
                                                        MM / DD / YYYY


                                             _____________________________________________
                                                                                                            Neil Davis
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   Chief Business Officer
                                            Title _________________________________________




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                                           ANNEX 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a

voluntary petition in the United States Bankruptcy Court for the District of Delaware for relief

under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint

administration of their cases, with the lead case number assigned to the chapter 11 case of uCast,

LLC.

                             uCast, LLC
                             Q Media Service, LLC
                             QMS Holdings, LLC
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                             AUTHORIZED OFFICER’S CERTIFICATE

                                             August 11, 2020

         This Authorized Officer’s Certificate (this “Certificate”) is furnished in connection with those
certain Chapter 11 petitions to be filed by uCast, LLC; QMS Holdings, LLC; and Q Media Services, LLC
(each, a “Company,” and collectively, the “Companies”).

        The undersigned, being an Authorized Officer of each Company, hereby certifies, solely in his
capacity as such and not in his individual capacity and without personal liability, that attached hereto are
copies of the resolutions duly adopted by the Governing Body (as such term is defined therein) of each
Company on the date hereof, in accordance with the Limited Liability Company Agreement of each such
Company and the requirements of applicable law, and such resolutions have not been modified, rescinded
or amended and are in full force and effect as of the date of this Certificate.

        IN WITNESS WHEREOF, I have hereunto signed my name on the date first written above.




                                                     By:

                                                     Name: Neil Davis

                                                     Title: Authorized Officer




                                                     1
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                      WRITTEN CONSENT OF THE SOLE MEMBER
                               AND MANAGERS OF
                             Q MEDIA SERVICES, LLC

        QMS Holdings, LLC, being the sole member (the “Member”), and the Board of Managers
consisting of Neil Davis, David Gentile, Kin Hui, Carl Katerndahl, and Sally Luhua Lin, being
and constituting the current Board of Managers of the Company (as hereinafter defined)
(collectively, the “Managers” and together with the Member, the “Governing Body”) of Q Media
Services, LLC, a Delaware limited liability company (the “Company”), do hereby take the
following actions by written consent in lieu of a meeting, pursuant to Section 18-302 of the
Delaware Limited Liability Company Act, adopt the following recitals and resolutions, and direct
that this written consent (the “Consent”) be entered into the minute book of the Company.

                   Approval of Bankruptcy Filing and Retention of Counsel

        WHEREAS, the Member and the Managers have considered the Company’s financial
position, and the strategic alternatives available to the Company;

        WHEREAS, the Member and the Managers have reviewed, had the opportunity to consult
with, and ask questions of, the Company’s legal and financial advisors, and fully considered the
strategic alternatives available to the Company;

        WHEREAS, after being so informed, and after deliberation and careful consideration, in
the judgment of the Member and the Managers of the Company it is desirable and in the best
interests of the Company, its creditors and other parties in interest, that the Company file a
voluntary petition for relief (the “Bankruptcy Case”) under the provisions of chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southern District of California (San Diego) (the “Bankruptcy Court”).

        WHEREAS, in the judgment of the Member and the Managers of the Company, it is
desirable and in the best interests of the Company to appoint Neil Davis as the Chief Business
Officer of the Company to oversee the Bankruptcy Case for the Company, and to take all necessary
and proper actions to oversee and administer the Bankruptcy Case, and to execute and file on
behalf of the Company all petitions, schedules, lists, motions, certificates, declarations, other
papers and documents, and to take any and all action that he deems necessary or proper to obtain
such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business or to successfully prosecute the Bankruptcy Case; and

       WHEREAS, in the judgment of the Member and the Managers of the Company, it is
desirable and in the best interests of the Company to engage DLA Piper LLP (US) as general

                                                 8

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bankruptcy counsel in the Bankruptcy Case, subject to the approval of the Bankruptcy Court.

       NOW, THEREFORE, BE IT RESOLVED, that the Company shall be, and hereby is,
authorized to file a Bankruptcy Case under the provisions of the Bankruptcy Code in the
Bankruptcy Court; and

       BE IT FURTHER RESOLVED, that the firm of DLA Piper LLP (US) is hereby retained
as general bankruptcy counsel in the Bankruptcy Case, subject to Bankruptcy Court approval; and

        BE IT FURTHER RESOLVED, that Mr. Davis, is hereby appointed as the Chief
Business Officer of the Company and authorized, empowered and directed, with full power of
delegation, in the name and on behalf of the Company, to negotiate, execute, deliver, file and
perform any agreement, document or certificate and to take and perform any and all further acts
and deeds (including, without limitation, (i) the payment of any consideration and (ii) the payment
of all fees, expenses and taxes) that he reasonably deems necessary, advisable or desirable in
connection with the Company’s Bankruptcy Case, including, without limitation, negotiation,
executing, delivering, filing and performing any and all documents, agreements, certificates and/or
instruments (or any amendments or modifications thereto) and other documents, in connection
with the engagement of professionals and consultants contemplated by these resolutions, with a
view to the successful prosecution of the Bankruptcy Case; and

        BE IT FURTHER RESOLVED, that the Member and the Managers of the Company
have received sufficient notice of the actions and transactions relating to the matters contemplated
by the foregoing resolutions, as may be required by the organizational documents of the Company,
or hereby waives notice; and

        BE IT FURTHER RESOLVED, that all acts, actions and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of the
Company, which acts would have been approved by the foregoing resolutions except that such
acts were taken before the adoption of these resolutions, are hereby in all respects approved and
ratified as the true authorized acts and deeds of the Company with the same force and effect as if
each such act, action, transaction, agreement or certificate had been specifically authorized in
advance by resolution of the Member and the Managers.




                                                 9

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         IN WITNESS WHEREOF, each of the undersigned hereby consents to, and hereby
 approves and adopts in all respects, the recitals and resolutions set forth herein. Each of the
 undersigned has executed this Consent on the date set forth below. This Consent may be executed
 in one or more counterparts.

                                                    Member:

                                                    QMS Holdings, LLC, as sole Member
                                                    of Q Media Services, LLC

                                                    By:
                                                    Name: Neil Davis
                                                    Title: Authorized Officer

                                                    Date: August 11, 2020




                               Signature Page to Written Consent

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                                              Directors:



                                              Neil Davis

                                              Date: August 11, 2020



                                              David Gentile

                                              Date: August 11, 2020



                                              Kin Hui

                                              Date: August 11, 2020



                                              Carl Katerndahl

                                              Date: August 11, 2020



                                              Sally Luhua Lin

                                              Date: August 11, 2020




                          Signature Page to Written Consent

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                                              Directors:



                                              Neil Davis

                                              Date: August 11, 2020


                                              #'0+( %)-.+,) 9"/* 347 3131 23845 $#&:
                                              David Gentile

                                              Date: August 11, 2020



                                              Kin Hui

                                              Date: August 11, 2020



                                              Carl Katerndahl

                                              Date: August 11, 2020



                                              Sally Luhua Lin

                                              Date: August 11, 2020




                          Signature Page to Written Consent

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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA


 In re:                                                  Chapter 11

 Q Media Services, LLC,                                  Case No. __-_____ (___)

                 Debtor.                                 (Joint Administration Requested)




                           CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

 the undersigned authorized officer of Q Media Services, LLC certifies that the following corporate

 entity directly owns 10% or more of Q Media Services, LLC’s equity interest.

                  Equity Holder                             Percentage of Total Equity

                QMS Holdings LLC                                       100%
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  Fill in this information to identify the case and this filing:



  Debtor Name Q Media Services, LLC

  United States Bankruptcy Court for the: Southern District of California
                                                                   (State)

  Case number (If known):




  Official Form 202

  Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
  An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
  amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
  the date. Bankruptcy Rules 1008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
  and 3571.


                        Declaration and signature

                    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
                    individual serving as a representative of the debtor in this case.

                    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                                    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                                    Schedule H: Codebtors (Official Form 206H)


                                    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                                    Amended Schedule


                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
                                    Form 204)


                                   Other document that requires a declaration Statement of Corporate Ownership

  I declare under penalty of perjury that the foregoing is true and correct.



  Executed on                                                                       /s/
                        MM / DD / YYYY                                              Signature of individual signing on behalf of debtor

                                                                                    Neil Davis
                                                                                    Printed name

                                                                                    Chief Business Officer
                                                                                    Position or relationship to debtor
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA


 In re:                                                   Chapter 11

 Q Media Services, LLC,                                   Case No. __-_____ (___)

                Debtor.                                   (Joint Administration Requested)




                          LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, Q Media

 Services, LLC hereby provides the following list of holders of equity interests:


      Name and Address of
                                         Kind of Interest           Percentage of Interests Held
        Interest Holder
       QMS Holdings LLC
      9909 Mira Mesa Blvd.
                                            Sole Member                       100.00%
           Suite 230
      San Diego, CA 92131
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  Fill in this information to identify the case and this filing:


  Debtor Name: Q Media Services, LLC

  United States Bankruptcy Court for the: Southern District of California
                                                             (State)
  Case number (If known):



  Official Form 202

  Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
  An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
  amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
  the date. Bankruptcy Rules 1008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
  and 3571.


                    Declaration and signature

                 I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
                 individual serving as a representative of the debtor in this case.

                 I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                              Schedule H: Codebtors (Official Form 206H)


                              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                              Amended Schedule


                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official
                              Form 204)


                             Other document that requires a declaration List of Equity Security Holders

  I declare under penalty of perjury that the foregoing is true and correct.


  Executed on                                                                    /s/
                    MM / DD / YYYY                                               Signature of individual signing on behalf of debtor

                                                                                 Neil Davis
                                                                                 Printed name

                                                                                 Chief Business Officer
                                                                                 Position or relationship to debtor
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           Fill in this information to identify the case:

           Debtor name: uCast Holdings, LLC, et al.


           United States Bankruptcy Court for the: Southern District of California
                                                                  (State)                                                        Check if this is
                                                                                                                                 an amended
           Case number (if known):
                                                                                                                                 filing


         Official Form 204

         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
         Claims and Are Not Insiders, On a Consolidated Basis                            12/15
         A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
         debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
         claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders
         of the 20 largest unsecured claims.



                                                                                                                        Amount of unsecured claim
                                                                                                                 If the claim is fully unsecured, fill in only
                                                                          Nature of the                              unsecured claim amount. If claim is
                                                                             claim (for                               partially secured, fill in total claim
                                                                          example, trade        Indicate if           amount and deduction for value of
  Name of creditor and                                                      debts, bank          claim is        collateral or setoff to calculate unsecured
                                Name, telephone number, and
complete mailing address,                                                      loans,          contingent,                            claim.
                               email address of creditor contact
   including zip code                                                      professional       unliquidated,                     Deducti
                                                                           services, and       or disputed         Total         on for
                                                                            government                           claim, if      value of         Unsecured
                                                                             contracts)                          partially collatera                claim
                                                                                                                  secured          l or
                                                                                                                                  setoff
1   Stingray Music USA,       Jack S. Kallus, Esq.                          Litigation          Contingent,                                      $1,400,000.00
    Inc                       Phone: (954) 987-7550                                            Unliquidated,
    c/o Becker &              Email: jkallus@beckerlawyers.com                                   Disputed
    Poliakoff, P.A.
    One East Broward
    Boulevard, Suite 1800
    Fort Lauderdale, FL
    33301
2   Loeb & Loeb LLP           Christopher J. Kelly, Esq.                                                                                      $1,029,824.40
    10100 Santa Monica        Phone: (310) 282-2263
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3   HCL Technologies          Website: www.hcltech.com                                                                                          $942,628.00
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                                                                                                           Amount of unsecured claim
                                                                                                    If the claim is fully unsecured, fill in only
                                                                   Nature of the                        unsecured claim amount. If claim is
                                                                      claim (for                         partially secured, fill in total claim
                                                                   example, trade     Indicate if        amount and deduction for value of
  Name of creditor and                                               debts, bank       claim is     collateral or setoff to calculate unsecured
                               Name, telephone number, and
complete mailing address,                                               loans,       contingent,                         claim.
                              email address of creditor contact
   including zip code                                               professional    unliquidated,                  Deducti
                                                                    services, and    or disputed      Total         on for
                                                                     government                     claim, if      value of         Unsecured
                                                                      contracts)                    partially collatera                claim
                                                                                                     secured          l or
                                                                                                                     setoff
5    Mazars USA LLP           Robert DeMeola                                                                                          $289,935.50
     135 W 50th Street        Phone: (212) 812-7000
     New York, NY 10020       Fax: (212) 375-6888
                              Email:
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7    Forstmann & Co.          Rex Wong                                                                                             $175,000.00
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     Stars, Suite 1100        E-mail:
     Los Angeles, CA          contact@forstmanncompany.com
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8    Randall Cox              Phone: (805) 302-2932                   Payroll                                                      $153,526.68
     1314 Sagamore Lane       Email: rendall@coxinvest.tv
     Ventura, CA 93001


9    Department of the        Phone: (800) 829-4933                    Taxes                                                       $134,149.54
     Treasury, IRS
     550 Main Street, Suite
     10
     Cincinnati, OH 45202
10   Walkers Global           Craig McDermaid, Esq.                                                                                $116,704.65
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                              m
11   Roger Julian Jackson     Phone: (310) 463-5807                   Payroll                                                      $112,066.60
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12   David Louis Ring         Phone: (310) 663-4360                   Payroll                                                      $105,813.25
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     Canyon Road
     Los Angeles, CA
     90049
13   B.L.S.T. Marketing,      Brian Lisi                                                                                            $88,445.27
     Inc.
     40 West 17th Street
     New York, NY 10011

14   8BY8 Wheel, Inc.                                                                                                               $82,500.00
     675 Creekside Way
     Campbell, CA 95008




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                                                                                                         Amount of unsecured claim
                                                                                                  If the claim is fully unsecured, fill in only
                                                                 Nature of the                        unsecured claim amount. If claim is
                                                                    claim (for                         partially secured, fill in total claim
                                                                 example, trade     Indicate if        amount and deduction for value of
  Name of creditor and                                             debts, bank       claim is     collateral or setoff to calculate unsecured
                             Name, telephone number, and
complete mailing address,                                             loans,       contingent,                         claim.
                            email address of creditor contact
   including zip code                                             professional    unliquidated,                  Deducti
                                                                  services, and    or disputed      Total         on for
                                                                   government                     claim, if      value of         Unsecured
                                                                    contracts)                    partially collatera                claim
                                                                                                   secured          l or
                                                                                                                   setoff
15   DME Law LLP            Phone: (424) 777-3466                                                                                    $75,900.00
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16   Abhishek Shivadas      Phone: (303) 775-4406                   Payroll                                                       $72,946.68
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     Suite 230
     San Diego, CA 92131
17   Rohini Mandayam        Phone: (858) 761-7446                   Payroll                                                       $62,456.63
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     San Diego, CA 92131

18   White Space Media                                                                                                            $61,540.00
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     3/18 Duke Street,
     Sunshine Beach
     Sunshine Coast,
     Queensland 4567
     Australia
19   James A. Prestiano,    Phone: (631) 499-6000                                                                                 $60,660.00
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     New York, NY 10014
20   Venable LLP            Eric Prager                                                                                           $59,881.69
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     Americas               Email: eaprager@venable.com
     New York, NY 10020




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  Fill in this information to identify the case and this filing:



  Debtor Name      uCast Holdings LLC, et al.

  United States Bankruptcy Court for the:                          Southern District of California
                                                                            (State)

  Case number (If known):


  Official Form 202

  Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
  An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
  amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
  the date. Bankruptcy Rules 1008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
  and 3571.


                         Declaration and signature

                     I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                     another individual serving as a representative of the debtor in this case.

                     I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                                    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                                    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                                    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                                    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                                    Schedule H: Codebtors (Official Form 206H)


                                    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                                     Amended Schedule


                                    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
                                    Form 204)


                                    Other document that requires a declaration

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on
                        MM / DD / YYYY                              Signature of individual signing on behalf of debtor

                                                                    Neil Davis
                                                                    Printed name

                                                                    Chief Business Officer
                                                                    Position or relationship to debtor




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